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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
             V.

ROBERT MENENDEZ, NADINE MENENDEZ,                               23-Cr-490 (SHS)
WAEL HANA, and FRED DAIBES,                                     ORDER
                           Defendants.


SIDNEY H. STEIN, U.S. District Judge.
   IT IS HEREBY ORDERED that:
   1. The Court will conduct an in camera, ex parte hearing pursuant to Section 4 of the
       Classified Information Procedures Act ("CIPA") with defendants on Thursday,
       April 4, 2024, at 2:30 p.m. in Courtroom 23A.
   2. April 10, 2024, is the last date for defendants to notify the Government and the
      Court in writing pursuant to Section 5 of CIPA if they reasonably expect to
      disclose classified information in connection with the trial of this action. Any
      such notification shall include a brief description of the classified information
      and shall be filed under seal. See CIPA § 5.
   3. April 19, 2024, is the last date for the Government to request the Court to
      conduct an in camera hearing concerning the use, relevance, or admissibility of
      that classified information pursuant to Section 6(a) of CIPA.
   4. If the Government makes a request pursuant to Section 6(a) of CIPA, that in
      camera hearing shall take place on Tuesday, April 23, 2024, at 2:30 p.m.


Dated: New York, New York
       April 1, 2024

                                         SO ORDERED:
